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COMPLEX SCIENCE AND/OR TECHNOLOGICAL CASE
MANAGEMENT PROGRAM (ASTAR)

 

FOR PURPOSES OF POSSIBLE SPECIAL ASSIGNMENT TO ASTAR RESOURCES JUDGES under
Md. Rule 16-302, attach a duplicate copy of complaint and check whether assignment to an ASTAR is requested.

© Expedited - Trial within 7 months of Standard - Trial within 18 months of
Defendant's response Defendant's response

 

IF YOU ARE FILING YOUR COMPLAINT IN BALTIMORE CITY, OR BALTIMORE COUNTY,
PLEASE FILL QUT THE APPROPRIATE BOX BELOW,

CIRCUIT COURT FOR BALTIMORE CITY (CHECK ONLY ONE)

 

0 Expedited Trial 60 to 120 days from notice. Non-jury matters.

OF civil-Short Trial 210 days from first answer.

(] Civil-Standard Trial 360 days from first answer.

CO custom Scheduling order entered by individual judge.

[Asbestos Special scheduling order.

(7 Lead Paint Fill in: Birth Date of youngest plaintiff ests .
[} Tax Sale Foreclosures Special scheduling order.

0 Mortgage Foreclosures No scheduling order.

 

CIRCUIT COURT FOR BALTIMORE COUNTY

 

Expedited Attachment Before Judgment, Declaratory Judgment (Simple),
(Trial Date-90 days) | Administrative Appeals, District Court Appeals and Jury Trial Prayers,
Guardianship, Injunction, Mandarnus.

Standard Condemnation, Confessed Judgments (Vacated), Contract, Employment
(Trial Date-240 days) Related Cases, Fraud and Misrepresentation, International Tort, Motor Tort,
Other Personal Injury, Workers' Compensation Cases.

(CJ Extended Standard Asbestos, Lender Liability, Professional Malpractice, Serious Motor Tort or
(Trial Date-345 days) Personal Injury Cases (medical expenses and wage loss of $100,000, expert
and out-of-state witnesses (parties), and trial of five or more days), State

 

Insolvency.
Co Complex Class Actions, Designated Toxic Tort, Major Construction Contracts, Major
(Trial Date-450 days) Product Liabilities, Other Complex Cases. 4 Pa

 

 

 

April 27, 2020

 

 

 

 

 

 

va . Signature of Counsel / Party
a ca Stephen N. Caramenico, Esq, #011778
Bethesda MD 20814 Printed Name
City State Zip Code

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IN THE CIRCUIT COURT FOR PRINCE GEORGE’S COUNTY, MARYLAND
Civil Division

CHERYL B. MASTERSON
19911 Ranger Lane
Huntington Beach, CA 92646
Plaintiff, Case No.:
ve

FUJI MOUNTAIN STEAKHOUSE, INC.
4237 Branch Avenue
Temple Hills, MD 20748

Serve On Resident Agent:
Yi Qing Zhang

4237 Branch Avenue
Temple Hills, MD 20748

Defendant.

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COMPLAINT
COMES NOW Plaintiff, Cheryl B. Masterson, by and through her attorneys, Stephen N.
Caramenico, Esq., and Malloy Law Offices, LLC., sues Defendant, Fuji Mountain Steakhouse,

Inc. (hereinafter “Fuji Mountain Steakhouse”), and for cause states:

PARTIES
1, Plaintiff, Chery] B. Masterson, is an adult resident of Huntington Beach,
California.
2. Defendant, Fuji Mountain Steakhouse’s, principle office is in Prince George’s

County, Maryland and it conducts business in Prince George’s County, Maryland.
3. At all relevant times, Defendant, Fuji Mountain Steakhouse, operated a restaurant
located at: 4237 Branch Avenue, Temple Hills, MD 20748 (hereinafter “the premises”).

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JURISDICTION AND VENUE

4, Jurisdiction is proper in this Court pursuant to Maryland Courts and Judicial
Proceedings Code Ann. §6-102 (1976).

5. Venue is proper in this judicial district and division pursuant to Maryland Courts
and Judicial Proceedings Code Ann. §6-201 (2006).

COUNT I
(Negligence - Fuji Mountain Steakhouse)

6. On or about May 5, 2018, Plaintiff was sitting at a table dinning with a family
member at the premises.

7. Suddenly without warning, as a Plaintiff attempted to stand up, the chair she was
sitting on collapsed and a sharp metal object punctured her buttock, causing her to sustain
significant injuries.

8. At all times relevant, Plaintiff was an invitee on Defendant’s premises.

9. Defendant, Fuji Mountain Steakhouse, owed a duty to Plaintiff and to other invitees
to protect them from any unreasonable dangers on the premises and/or warn them of such dangers.

10. Defendant, Fuji Mountain Steakhouse, breached said duty owed to Plaintiff by (a)
failing to maintain the premises free of hazards; (b) failing to maintain a structurally stable chair
for its customers at the premise; (c) failing to prevent sharp objects from contacting its customers
while utilizing their dining facilities and equipment; (d) failing to maintain all equipment at the
premises; and/or (e) by failing to warn Plaintiff of the hazard and dangerous condition at the

premises.
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11. As aresult of Defendant’s negligence as set forth above and the resultant fall, Plaintiff
was caused to suffer and sustain severe and painful injuries to her head, body and limbs, and was
caused to suffer shock to her nerves and nervous system as well as mental anguish and was, is and
will be otherwise hurt and injured.

12. As a further direct result of Defendant’s negligence, Plaintiff was caused to incur
medical bills for the care and requisite treatment of her injuries.

13. Asa further direct result of Defendant’s negligence, Plaintiff was forced to lose time
from work with the resultant loss of income.

14. That all of Plaintiff’s injuries, losses and damages, past, present and prospective,
are due to and by reason of the negligence, carelessness and recklessness of Defendant, Fuji
Mountain Steakhouse, with no lack of due care or negligence on the part of Plaintiff contributing
thereto directly or indirectly.

15. At all times relevant hereto Plaintiff was exercising due care for her own safety.

WHEREFORE, Plaintiff, Cheryl B. Masterson, claims a sum in excess of Seventy Five

Thousand Dollars ($75,000.00) as damages against Defendant, Fuji Mountain Steakhouse.

Respectfully subriutted;
SLB Y {

— Ll

‘Stephen N. Caramenico, Esq. (011778)
#1112130152

Malloy Law Offices, LLC

7910 Woodmont Avenue, Suite 1250
Bethesda, MD 20814

T: (202) 464-0727

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Stephen @malloy-law.com

Attorney for Plaintiff
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IN THE CIRCUIT COURT FOR PRINCE GEORGE’S COUNTY, MARYLAND
Civil Division

CHERYL B. MASTERSON
19911 Ranger Lane
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Plaintiff, Case No.:
v.

FUJI MOUNTAIN STEAKHOUSE, INC.
4237 Branch Avenue
Temple Hills, MD 20748

Serve On Resident Agent:
Yi Qing Zhang

4237 Branch Avenue
Temple Hills, MD 20748

“ome” Nome Soames” Somme” See” Somme” Nome” Smee” “oem” “ene” “sage” Seer” ome” eee” Nee See! See”

Defendant.

 

JURY DEMAND

Plaintiff demands trial by jury on all issues so triable.

Respectfully submitted,
_Biéphen N. Caramenico, Esq. (011778)
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Attorney for Plaintiff
